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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                     GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,             CR 18-'1tGF--l3ml'Y\

            Plaintiff,                 INDICTMENT

      vs.                              WIRE FRAUD
                                       (Count I}
                                       Title 18 U.S.C. § 1343
 WILLARD WILSON WHITE III,             (Penalty: 20 years imprisonment, $250,000
                                       fine, and three years supervised release)
            Defendant.
                                       THEFT FROM AN INDIAN TRIBAL
                                       ORGANIZATION
                                       (Count II)
                                       Title 18 U.S.C. § 1163
                                       (Penalty: Five years imprisonment,
                                       $250,000, and three years supervised
                                       release)

                                       INCOME TAX EVASION
                                       Title 26 U.S.C. § 7201
                                       (Count III)
                                       (Penalty: Five years imprisonment,
                                       $100,000 fine, costs of prosecution, and
                                       three years supervised release)


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                                               CRIMINAL FORFEITURE
                                               18 U.S.C. §§ 98l(a)(l) and 982
                                               28 U.S.C. § 2461(c)



THE GRAND JURY CHARGES:

                                  INTRODUCTION

      At all times relevant to this indictment:

       1.    The Fort Peck Tribes is a federally recognized tribe located in eastern

Montana, whose affairs are governed by the Tribal Executive Board and whose

government is located in Poplar, Montana.

      2.     During the period of the indictment, the Fort Peck Tribes offered the

defendant, WILLARD WILSON WHITE III, a temporary police officer position.

While working for the Fort Peck Tribes, the defendant, WILLARD WILSON

WHITE III, also proposed to implement a Youth Diversion Program to aid in the

reduction of youths adjudicated by the tribal court.

      3.     The Fort Peck Tribes provided the defendant, WILLARD WILSON

WHITE III, with $40,000 of funds from the Fort Peck Tribes to implement the

Youth Diversion Program. Instead of implementing the Youth Diversion Program

as required, the defendant, WILLARD WILSON WHITE III, provided little to no

services and instead spent the tribal funds at casinos, restaurants, bars, a strip club,




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furniture stores, and other expenditures wholly unrelated to the Youth Diversion

Program.

                                       COUNT I

      Between on or about July of 2015, and continuing thereafter until on or

about October of2015, at Poplar, Wolf Point, Glasgow, Box Elder, and Havre,

within Roosevelt, Valley, and Hill counties, and elsewhere, in the State and

District of Montana, and other places, the defendant, WILLARD WILSON

WHITE III, having devised and intending to devise a material scheme and artifice

to defraud to obtain money and property by means of false and fraudulent

pretenses, representations, and promises, for the purpose of executing such scheme

and artifice, and attempting to do so, knowingly transmitted and caused to be

transmitted by means of wire communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds for the purpose of executing such

scheme and artifice.

       EMBEZZLEMENT OF YOUTH DIVERISON PROGRAM MONEY

      During the period of the indictment, it was part of the scheme and artifice to

defraud that the defendant, WILLARD WILSON WHITE III, obtained $40,000 to

implement a Youth Diversion Program on the Fort Peck Indian Reservation and

instead spent the tribal funds at casinos, restaurants, bars, a strip club, furniture

stores, and other expenditures wholly unrelated to the Youth Diversion Program.


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                THE INTERSTATE WIRE COMMUNICATIONS

      During the period of the indictment, the defendant, WILLARD WILSON

WHITE III, having devised and intending to devise a material scheme and artifice

to defraud to obtain money and property by means of false and fraudulent

pretenses, representations, and promises, as described herein, for the purpose of

executing the scheme to defraud, transmitted and caused to be transmitted by

means of wire communication affecting interstate commerce, writings, signs,

signals, pictures, and sounds for the purpose of executing such scheme and artifice,

that is, checks and wires, to and from Poplar, Wolf Point, Glasgow, Box Elder,

Havre, and elsewhere, in the District of Montana, to and from Minneapolis, in the

District of Minnesota, to and from Williston and Minot, in the District of North

Dakota, and to and from Seattle, in the Western District of Washington, all in

violation of 18 U.S.C. § 1343.

                                    COUNT II

      Between on or about July of 2015, and continuing thereafter until on or

about October of2015, at Poplar, Wolf Point, Glasgow, Box Elder, and Havre,

within Roosevelt, Valley, and Hill counties, and elsewhere, in the State and

District of Montana, and other places, the defendant, WILLARD WILSON

WHITE III, embezzled, stole, knowingly converted to his use and the use of

another, willfully misapplied, and willfully permitted to be misapplied, more than


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$1,000 worth of money, goods, and assets belonging to an Indian tribal

organization, and entrusted to the custody and care of any officer, employee, and

agent of an Indian tribal organization, that is, the defendant, WILLARD WILSON

WHITE III, obtained $40,000 from the Fort Peck Tribes to implement a Youth

Diversion Program on the Fort Peck Indian Reservation, but he instead spent the

money on his personal expenses, including spending money at casinos, restaurants,

bars, a strip club, furniture stores, and other stores wholly unrelated to the Youth

Diversion Program, all in violation of 18 U.S.C. § 1163.

                                     COUNT III

      That on or about February 10, 2016, at Poplar and within Roosevelt County,

in the State and District of Montana, the defendant, WILLARD WILSON WHITE

III, did willfully attempt to evade and defeat a large part of the income tax due and

owing by him to the United States of America for the calendar year 2015, by

preparing and causing to be prepared, and by signing and causing to be signed, a

false and fraudulent U.S. Individual Income Tax Return, Form 1040A, which was

filed with the Internal Revenue Service, and in that false income tax return, the

defendant, WILLARD WILSON WHITE III, stated that his taxable income for the

calendar year was the sum of $0, and that the amount of tax due and owing thereon

was the sum of$0, when in truth and in fact, as he then and there knew, his taxable

income for the calendar year was substantially in excess of the amount stated on


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the return, and, upon the additional taxable income, a substantial additional tax was

due and owing to the United States of America, all in violation of26 U.S.C.

§ 7201.

                    CRIMINAL FORFEITURE ALLEGATION

      The allegations set forth in count I of the indictment are re-alleged as though

fully set forth herein and incorporated by reference for the purpose of alleging

forfeiture to the United States of America pursuant to the provisions of 18 U.S.C.

§§ 981(a)(l) and 982, and 28 U.S.C. § 2461(c).

      Upon conviction of count I, the defendant, WILLARD WILSON WHITE

III, shall forfeit to the United States any property, real and personal, which

constitutes and is derived from proceeds traceable to the offense, and is involved in

the offense, and traceable to such property, pursuant to 18 U.S.C. §§ 98l(a)(l) and

982, and 28 U.S.C. § 246l(c). The property subject to forfeiture includes a money

judgment of up to $40,000.

      If any of the property described above as being subject to forfeiture, as a

result of any action or omission of the defendant:

      a. Cannot be located upon the exercise of due diligence;

      b. Has been transferred or sold to, or deposited with, a third party;

      c. Has been placed beyond the jurisdiction of the Court;

      d. Has been substantially diminished in value; or


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             e. Has been commingled with other property that cannot be divided without
                difficulty;

       the defendant shall forfeit to the United States any other property of the defendant,

      up to the value of the property described above, pursuant to 21 U.S.C. § 853(p).

             A TRUE BILL.
                                              Foreperson signature redacted. Original document filed under seal.




                                              FOREPERSON




      United States Attorney



   ~,..-JOSEPH  E. THAGGA
       Criminal Chief Assistant    .S. Attorney




                                                                             Warrant:---------
                                                                            Bail:---------

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